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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

NATIONAL ASSOCIATION OF                          §
PRIVATE FUND MANAGERS;                           §
ALTERNATIVE INVESTMENT                           §
MANAGEMENT ASSOCIATION,                          §
LIMITED; and MANAGED FUNDS                       §
ASSOCIATION,                                     §
                                                 §
                       Plaintiffs,               §          Case No. 4:24-cv-00250-O
                                                 §
       v.                                        §
                                                 §
SECURITIES AND EXCHANGE                          §
COMMISSION,                                      §
                                                 §
                       Defendant.                §

                                      FINAL JUDGMENT

       For the reasons set forth in the Court’s Memorandum Opinion and Order on this date (ECF

No. 46), it is hereby ordered and adjudged that Plaintiffs’ motion for summary judgment (ECF

No. 28) is granted. Defendant’s cross-motion for summary judgment (ECF No. 38) is denied. It is

further ordered and adjudged that:

       1. Final Judgment is entered in favor of Plaintiffs on Count I of the Complaint. See ECF

            No. 1 at ¶¶ 62–64.

       2. The Court does not reach Counts II and III. See ECF No. 1 at ¶¶ 65–70.

       3. The Court VACATES and SETS ASIDE, in its entirety, Defendant’s Final Rule titled

            Further Definition of “As a Part of a Regular Business” in the Definition of Dealer

            and Government Securities Dealer in Connection With Certain Liquidity Providers, 89

            Fed. Reg. 14938 (Feb. 29, 2024) (to be codified at 17 C.F.R. pt. 240).

       4. All other relief not expressly granted herein is DENIED.


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      SO ORDERED on this 21st day of November, 2024.


                                  _____________________________________
                                  Reed O’Connor
                                  UNITED STATES DISTRICT JUDGE




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